   Case: 1:15-cv-01138 Document #: 110 Filed: 03/14/17 Page 1 of 2 PageID #:1633



                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

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                                                         )
The Green Pet Shop Enterprises, LLC,                     )

                                    Plaintiff,          :
                                                        )    Civil Action No. 1:15-CV-01138
                   v.                                   :
                                                        )     Honorable Matthew F. Kennelly

Maze Innovations, Inc.                                   :
                                                         )
                                    Defendant.           :
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                           CONSENT DECREE AND FINAL JUDGMENT

            Plaintiff The Green Pet Shop Enterprises, LLC. (“Green Pet Shop”) and Defendant Maze

Innovations, Inc. (“Maze”) have reached a settlement of their outstanding disputes and now,

consistent with that agreement, they move jointly for the entry of the Consent Decree and final

judgment (“Motion”).

                                         Order and Final Judgment

        The Court is of the opinion that the Motion should be, and is hereby GRANTED.

                   It is therefore ORDERED, ADJUDGED and DECREED, as final judgment, that:

                   1.      U.S. Patent Nos. 8,720,218 and 9,226,474 (the “Patents”) are and remain
                           valid and enforceable as between the parties;

                   2.      Maze’s commercial manufacture, use, sale, offer for sale, and/or
                           importation of any variation of its “Chilly Mat” and “Chillz Cooling Pad”
                           cooling pad line of products infringes the Patents;

                   3.      The parties agree that the issues of patent validity, enforceability and
                           infringement resolved in this Consent Decree and Final Judgment are
                           concluded with finality and on the merits among the parties;




5646883_1
   Case: 1:15-cv-01138 Document #: 110 Filed: 03/14/17 Page 2 of 2 PageID #:1634



            4.     Each party is to bear its own costs and attorney fees;

            5.     This Court shall retain exclusive jurisdiction over the parties to adjudicate
                   any challenge by Maze to the validity and/or enforceability of the Patents.

            6.     All claims and counterclaims are dismissed in their entirety with
                   prejudice.


ENTERED this 14th day of March 2017




HONORABLE MATTHEW F. KENNELLY
UNITED STATES DISTRICT COURT JUDGE




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